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                                                                                        Chapter
                                                                                                          5
                         Ex Ante versus Ex Post Damages
                         Calculations*

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                5.1 Introduction

                Economic damages awards in litigation serve a double purpose: they compensate
                entities that suffered harm from unlawful acts and they deter future unlawful acts.
                The optimal compensation award should put an injured entity in the same eco-
                nomic position it would have been but for the act. The optimal deterrent award,
                putting aside punitive issues, should be equal to the ill-gotten gain derived from
                the unlawful act adjusted for the probability that someone will detect the act. In
                many cases these two amounts are the same. Consider an example whereby I steal
                $100 from you. If my immediate apprehension and the return of your money to
                you were certain—an environment where the legal system is costless to operate
                and makes no errors, then your economic loss would be eliminated and my ill-
                gotten $100 would have been disgorged. Under that circumstance, the compensa-
                tion amount equals the deterrent amount. I would have no incentive to steal from
                you, and you would have no incentive to incur costs to deter the robbery.

                * The coauthors acknowledge their former coauthors, Michael Wagner and Michael Dunbar; this chap-
                ter has retained much of their work from previous editions of the Litigation Services Handbook.

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                In this example of immediate restitution, one can easily find an optimal award
            that satisfies both the compensation and deterrent purposes. Ideally, plaintiffs
            would receive instantaneous compensation for the damages they suffered with-
            out delay between the date of injury and the award of damages. If a delay occurs
            between the time of the unlawful act and the date of restitution, however, the
            victim’s harm and the wrongdoer’s ill-gotten gain often diverge.
                In the real world, a delay always occurs between the date of injury and the date
            the plaintiff receives compensation. During the time lag, in addition to the diver-
            gence between the damages and ill-gotten gain, information about the payoffs to
            the unlawful act becomes available, which can change the parties’ perception of
            the damages.
                For example, suppose that you buy a lottery ticket for $1. Then suppose I steal
            it from you before the lottery drawing occurs and the winner becomes publicly
            known. Assume that on the date of the injury all lottery tickets had an equal
            chance of winning and there was no shortage of tickets available for $1. Time
            passes and it turns out that the ticket I stole from you is the lottery winner and
            is now worth $32 million. How much should I pay you to make you whole? Do I
            owe you the expected value of the return from the ticket, about 12 cents, called the
            ex ante value—its value before the event?1 Or do I owe you the fair market value of
            the ticket I stole, $1? Immediately after the theft, I can restore you to your position
            before the theft by paying you $1 so that you can buy a replacement lottery ticket,
            to which you are indifferent before the lottery drawing occurs. Or do I owe you
            the amount that you would have made had you owned the winning ticket, $32
            million, the ex post value—its value after the event?
                Surely one could argue that if you bought a ticket with an expected value of 12
            cents, you were not planning to try to resell it before the winner was announced.
            If you weren’t keeping the ticket through the lottery drawing, you would have
            been better off not buying it at all. Therefore, after the fact—ex post—it is a virtual
            certainty that you would have won the lottery.
                Given these circumstances, and considering that at the time of the theft you
            could have bought another ticket with equal probability of winning for $1, most
            would agree that damages on the date of theft are $1. After the lottery ends and
            your ticket becomes worth $32 million, few juries would consider a remuneration
            of $1 for $32 million in winnings a just resolution, even though all might agree that
            you could have mitigated the harm after the theft, before the drawing, by buying
            another ticket.
                Consider a damages system that awards $1 if the ticket was not a winner and
            $32 million if it was. Such a system gives the original owner an incentive to have
            his or her ticket stolen. Such a system is defective.

            5.2 Expectancy versus Outcome Damages

            Most business activities resemble lotteries: the firm invests time and money up
            front in an activity with an uncertain outcome. Thus, the damages expert faces the
            question of whether to compute damages at the time of the investment (or unlaw-
            ful act) or after the outcome is known.
               Ex ante is Latin for “from before.” A pure ex ante analysis would use information
            only if it were available at the time of the unlawful act to calculate the damages
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                                5.3 Application of the Ex Ante Approach in Litigation   5 •  3


                                     Ex Ante                              Ex Post
            Information              Use information known or             Use all available
                                     knowable on the date of the          information.
                                     unlawful act; ignore subsequent
                                     events.
            Measurement Date         Date of unlawful act.                Date of analysis.
            Discounting              Discount all cash flows back to      Bring past cash flows
                                     the date of unlawful act using a     (i.e., damages) to
                                     rate that reflects the risk of the   present value using an
                                     asset. Calculate prejudgment         interest rate reflecting
                                     interest on this amount from         either the plaintiff’s
                                     the date of the unlawful act to      cost of capital or the
                                     the date of judgment using a         defendant’s debt rate.
                                     rate reflecting either the plain-    Discount future cash
                                     tiff’s cost of capital, or the       flows (i.e., damages) to
                                     defendant’s debt rate.               the date of judgment.

            Exhibit 5-1. Differences between Ex Ante and Ex Post Calculations


            incurred at the time of the act. Practitioners base the analysis, therefore, as though
            they were to analyze the damage caused by the act contemporaneously with the
            occurrence of the act. Ex post is Latin for “from after.” A pure ex post analysis uses
            all the information available up to the date of the analysis. Such an outcome-based
            analysis accounts for facts that become known after the unlawful act, such as a
            product’s success in the marketplace, the increased value of a tangible asset, or,
            indeed, the outcome of a lottery.
                One could also perform an analysis that is a hybrid between ex post and ex ante.
            For example, when analysts use information available after the date of the unlaw-
            ful act, they often discount cash flows that occurred at a risk-adjusted discount
            rate to the ex ante measurement date. See Section 5.5 of this chapter.
                The differences between ex ante and ex post analyses lie in which information
            subsequent to the unlawful act the analyst uses, the date of the damages measure-
            ment, and how the analyst discounts future damages. Exhibit 5-1 highlights the
            differences between the two approaches as practitioners have applied them.


            5.3 Application of the Ex Ante Approach in Litigation

            (a) The Mechanics of Ex Ante Analyses

            To illustrate the mechanics of ex ante analyses, we use the following example.
            Suppose that on New Year’s Day 1999, the defendant stole the victim’s 1997 first
            edition of Harry Potter and the Philosopher’s Stone. At that time, the victim, the defen-
            dant, and others could have bought an identical replacement for $300. The mar-
            ket value of this rare first edition increased steadily so that by 2010 it was worth
            $40,000 (and by the time of publication of this chapter its value exceeds $60,000).
               The first edition’s original owner files a lawsuit, and the trial begins on Decem-
            ber 31, 2010. An expert using a pure ex ante approach would calculate damages of
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            5 •  4  Ex Ante versus Ex Post Damages Calculations

            $300 and then might calculate interest on the $300 from January 1, 2000, to Decem-
            ber 31, 2010. Three hundred dollars is the expected value of the book as dictated
            by the then-current market price. If the plaintiff had a different expectation for
            the book’s future value, he could have mitigated any damages by buying another
            book for $300 after the theft. In fact, if he had thought the book was worth more
            than its market value of $300, he should have bought additional books (although
            only 800 were published and of those 300 went to libraries).
               Advocates of ex ante analyses point out that using ex ante information properly
            allocates risk.2 In the Potter example, the book’s market price on the date of the
            theft already incorporates the probability that it will become a collector book. The
            market price also incorporates the then-higher probability that the book will ulti-
            mately be worth only the decorator value of used books generally.
               When the victim’s $300 book was stolen, he was relieved of the risk that it
            would ultimately become nearly worthless and deprived of the low-probability
            outcome that it would become a collectible. The market value of the book on the
            theft date reflects the present value of these two possible outcomes and all future
            costs and benefits associated with ownership. In this way, an ex ante approach
            helps analysts avoid two significant potential pitfalls associated with an ex post
            approach: incorrectly accounting for avoided risk and neglecting avoided costs
            and benefits.
               Proponents of the ex ante approach argue that awarding $40,000 improperly
            rewards the plaintiff for the full current value of the book without taking into
            account that the plaintiff avoided the costs and risks of ownership. Implicitly, the
            costs and risks of ownership equal $39,700 (= $40,000 – $300). An ex ante approach
            properly measures the value of an asset at the time it was taken, whereas an ex post
            approach converts a risky investment into a certain outcome.
               Even though the ex ante approach solves some particularly sticky problems
            associated with the ex post approach, it has problems of its own. For example,
            some firms have private information on which they value particular assets more
            or less highly than the market does. In that case, do the firms’ expectations set
            the amount of damages? Likewise, suppose the plaintiff had a once-in-a-lifetime
            chance to succeed (i.e., there were no additional lottery tickets nor Potter first edi-
            tions available to replace the stolen one). Additionally, the assets can have unique
            value to a particular firm. Is this unique value the relevant measure of ex ante dam-
            ages if the firm falls victim to an unlawful act? Proving that an asset has a value
            that differs from market value can be difficult.
               The damages expert can rarely value the act’s consequences with accuracy as
            of the time of the act because of the difficulty of reconstructing the information
            known when the act occurred. Sometimes contemporaneous forecasts exist, but
            these can be imprecise information sources. Forecasts produced for different pur-
            poses or by different business units in the same organization can vary. Sometimes
            individuals associated with a project prepare more aggressive forecasts than those
            prepared by management, whose bonuses rely on performance compared against
            those forecasts. Banks and venture capitalists prefer conservative forecasts. Firms
            and industries often make multiple forecasts showing different expected out-
            comes. These problems sometimes drive experts to inappropriately rely on unreli-
            able forecasts made at the time of the unlawful act.
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                                5.3 Application of the Ex Ante Approach in Litigation   5 •  5

            (i) Usable Information An ex ante analysis relies on information known or knowable
            at the time of the unlawful act. One cannot, however, easily identify all knowable
            information.
                Anything in the public domain is arguably knowable. Private information held
            by the opposing parties or third parties is also arguably knowable. Indeed, patent
            law accepts that the patent holder’s private information is knowable. Patent law
            regards all subsequent information as knowable at the time of the hypothetical
            negotiation that the courts assume to occur contemporaneously with the act. Sec-
            tion 5.6 of this chapter discusses this concept, also known as the book of wisdom.
                One way to identify relevant information hypothesizes an analysis that the
            plaintiff could have performed at the time of injury. This current analysis could
            include any information that the injured party would have used in performing
            that contemporaneous analysis. As a practical matter, the expert may use other
            information from documents dated slightly after the date of the unlawful act on
            the basis that the information was known or knowable prior to the date that the
            document memorialized it.
                Questions often arise regarding the treatment of subsequent mitigation and
            investment. If one uses an ex ante analysis, one should not consider the outcome of
            subsequent actual mitigation. Doing so converts the analysis into an ex post mea-
            sure of damages. Similarly, in theft of trade secrets or patent infringement cases,
            the injured party often makes significant investments after the date of the theft
            that it might not have made had it been aware of the theft. To ensure consistency,
            a pure ex ante analysis should not consider subsequent information about these
            actual investments.
            (ii) Measurement Date The measurement date is the date as of which the expert
            calculates damages. In the case of an unlawful act that occurs on a single date—
            the breach of a contract, for instance—the measurement date would be the date of
            the breach. Some cases have multiple unlawful acts occurring on different dates.
            For example, one could argue that every time a patent infringer makes, or uses, or
            offers to sell, or sells an infringing product, the infringer commits a new unlaw-
            ful act. In this example, an expert applying an ex ante analysis should measure
            the damages associated with each separate unlawful act on the date that each
            occurred.3
            (iii) Probability of Outcome If no contemporaneous market price exists, or if, for what-
            ever reason, the market price does not reflect the idiosyncratic value to the victim,
            then the expert can forecast future cash flows with contemporaneous information.
            Such forecasts lend themselves to the assignment of relative probabilities to differ-
            ent possible outcomes. Similarly, if contemporaneous analyses do exist, one may
            find multiple analyses, such as best-case, worst-case, and expected-case analyses.
            A proper analysis should assign probabilities to the various scenarios and weight
            the resultant net present values of damages proportionately.
            (iv) Ex Ante Discounting In ex ante discounting, an expert applies a risk-adjusted
            rate of return appropriate for the company or project at issue when discounting
            the lost cash flows back to the date of damage (or breach). This calculation yields
            a lump sum equal to the present value of the damages on the date of the injury.
            The analysis can weight this lump sum according to the probability of outcome
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            5 •  6  Ex Ante versus Ex Post Damages Calculations

            as described in Section 5.3(a)(iii) of this chapter. The expert subsequently applies
            prejudgment interest to the damages amount starting from the date of the act and
            continuing through the restitution date.
               As with identifying measurement dates, discounting becomes complicated
            when the unlawful act is not a one-time event. For example, suppose that two
            unlawful acts occur on different dates. An analyst could ascertain separate dis-
            count rates for each unlawful act and discount the lost cash flows back to the
            corresponding unlawful act dates. Or, as in the case of the patent infringement
            discussed in Section 5.3(a)(ii) of this chapter, one should not discount all the cash
            flows back to the date of first infringement; instead, an expert should discount
            the separate cash flows (at different discount rates, if necessary) to the date of
            each lost sale. In sum, if the unlawful act does not occur on a single date, then the
            expert should calculate damages associated with each unlawful act and discount
            the damages for each act back to the appropriate date at the appropriate discount
            rate, which depends on the date of each unlawful act.4
            (v) Prejudgment Interest Some courts allow the computation of prejudgment inter-
            est and grant that amount to plaintiffs. One should calculate prejudgment interest
            from the date of damages to the date of recovery. Because of uncertain recovery
            dates, the courts often use the date of trial as a proxy for the recovery date. Courts
            have used a variety of interest rates for prejudgment interest. State law and fed-
            eral statutes often specify a statutory rate. If no statutory rate exists, it is common
            and logical to use the defendant’s unsecured borrowing rate.5 This practice makes
            sense because the defendant owes the damages to the plaintiff; thus, the analy-
            sis can regard the damages as funds that the plaintiff has, albeit involuntarily,
            lent to the defendant. The appropriate risk-adjusted rate for this loan reflects the
            defendant’s default risk, captured by the defendant’s unsecured borrowing rate
            for loans of similar duration initiated in the same time period. Even though courts
            sometimes use the plaintiff’s opportunity cost as a measure of prejudgment inter-
            est rates, this rate is inappropriate because it is calculated under the false assump-
            tion that the plaintiff would have assumed the average risk of all its assets in order
            to earn its opportunity cost, rather than merely the default risk that the defendant
            would fail to pay.


            (b) The Debate

            (i) Advantages The ex ante approach properly accounts for risk. The contemporane-
            ous market price or contemporaneously conducted analyses capture the probabil-
            ity of the entire spectrum of outcomes. Awarding a plaintiff with all the benefits of
            a successful project without the plaintiff’s need to assume the project risk would
            overcompensate the plaintiff. In fact, it would give the plaintiff an incentive to
            seek harm. Better that I should induce you to deprive me of the right to drill for
            oil on a site that is likely a dry hole than that I should spend the, say, $1 million to
            drill for myself. If I can induce you to deprive me of the right to drill, then I can
            save the $1 million of drilling costs but still collect the value of the oil if, contrary
            to expectation, the well turns out to be a gusher. Additionally, the results of an
            ex ante analysis are independent of when the trial occurs. Therefore, there is no
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                                 5.4 Application of the Ex Post Approach in Litigation   5 •  7

            incentive for a plaintiff to attempt to game the court system by timing a potential
            lawsuit to maximize damages awards. Ex ante analyses also provide foreseeability
            of consequences to potential wrongdoers. Another advantage: it does not penalize
            the plaintiff for a decision to either pursue or not pursue mitigation.
            (ii) Disadvantages Ex ante approaches often require a complex reconstruction of the
            world at the time of the unlawful act, likely impaired by a shortage of contempo-
            raneous information. The expert will often need to construct both an actual and
            a but-for world, neither of which in fact existed. The constructed actual world
            reflects the cash flow from the next best alternative given the unlawful act. The
            but-for world is composed of future cash flows that would have followed but for
            the act.
               Another potential disadvantage of the ex ante approach lies in its use of con-
            temporaneous markets for valuation at the time of the unlawful act. The notion
            that the market value at any given time reflects the present value of future cash
            flows assumes efficient markets and perfect information. However, some markets
            are not efficient, and perfect information rarely exists. In fact, proponents of the
            ex ante approach agree that since private information related to the value at the
            date of the act provides the best information, the market is not the ultimate arbiter
            of value.6 Also, even with complete information, market forecasts can be wrong.
            Even if one had a broad portfolio of used books, for example, the forecast future
            value of a book at the time of theft will not likely closely match the actual future
            value if the restitution were many years away.


            5.4 Application of the Ex Post Approach in Litigation

            (a) The Mechanics of Ex Post Analyses

            Ex post computations rely on actual outcomes. The expert looks backward from
            the time of trial and uses actual information. In an ex post analysis, experts
            believe that events that happened after the date of the unlawful act provide
            information useful in understanding the economic effect of the act and, thus,
            affect the cost imposed by the act. Consider our example of the stolen Potter first
            edition introduced in Section 5.3(a) of this chapter. The market value on the date
            of theft was $300 even though the December 31, 2010 market value was $40,000.
            Using ex post information, damages would be $40,000 less the avoided costs of
            ownership between the theft date and the date of trial (e.g., costs of storage costs
            and insurance) plus any lost benefits of ownership between the theft date and
            the trial date (e.g., exhibition fees in book shows).
               The application of ex post information raises several questions:
               •• If subsequent information is available, how should the expert use it?
               •• If the analysis uses subsequent information, how does this affect the risk pro-
                  file of the cash flows, and, consequently, how does this affect the appropriate
                  discount rate for discounting those cash flows?
               •• Does the use of subsequent information affect the selection of the present
                  value date used for the calculation of damages?
               •• How should the analysis treat subsequent mitigation and investment?
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            5 •  8  Ex Ante versus Ex Post Damages Calculations

            (i) Usable Information In a pure ex post analysis, all available information has rel-
            evance. Because the analysis aims to value the unlawful act as of the date of res-
            titution, more recent information about the value becomes particularly important
            in assessing the current value. If forecasts are available at the time of computation,
            the analysis uses recent forecasts, not earlier ones, and adjusts those forecasts for
            known differences in assumptions.
                Additionally, both the outcomes of mitigation efforts and the actual invest-
            ments made by the victim provide relevant and important information in ex post
            analyses. If, for example, the defendant wrongfully precluded the plaintiff from
            making a particular investment, an expert should consider what the plaintiff sub-
            sequently did or should have done with the funds it could not invest.
            (ii) Measurement Date Experts measure ex post damages as of the date of restitution.
            Such analyses use the trial date or the analysis date as proxies for the date of resti-
            tution. One could also use the expected date of final payment or even the expected
            date of the resolution of subsequent appeal, depending on the facts of the case and
            the available information.
                                                  The ex post approach discounts future lost cash
            (iii) Ex Post Discounting of Cash Flows
            flows at the risk-adjusted rate of return appropriate for the company or project at
            issue. Ex post discounting uses past lost cash flows and brings them forward to the
            restitution date at a rate sufficient to compensate for the defendant’s default risk,
            but with no other risk considerations. As the previous paragraph discusses, the
            analysis can use various dates as a proxy for the restitution date.
               Proponents of the ex post approach argue that their method of discounting
            has merit because it gives the plaintiff the exact recovery that, if invested at the
            same risk-adjusted rate of return as that of the firm, would reproduce the future
            stream of lost cash flows. Proponents also argue that the ex post approach offers
            the only means of putting plaintiffs in the same position they would have been in
            but for the unlawful act. In fact, one could argue that this approach is conservative
            because it regards the plaintiff’s restitution date as the date of trial when, in fact,
            restitution often does not occur until later, after appeals. In that situation, even
            though the plaintiff does not receive restitution until years after the initial trial
            date, the method discounts the amount generated from future cash flows further
            back than necessary, to the initial trial date.
               Critics of the ex post approach argue that by discounting only future damages
            that occur after the restitution date, experts accept pretrial damages as though
            they were certain and neglect the risk associated with earning those cash flows.
            The counterarguments have a legal, rather than economic, basis. In fact, the defen-
            dant precluded the plaintiff from taking the risks associated with earning those
            particular cash flows. If the plaintiff wanted to and could take those risks, the
            defendant should not benefit from preventing the plaintiff from taking those
            risks. One could also argue that once the plaintiff proves liability, the benefit of
            any uncertainty should go to the plaintiff. Section 5.7 of this chapter discusses
            the case law supporting this concept, known as the wrongdoer’s rule. Moreover,
            critics argue that ex post damages reduce the incentive for mitigation—after all,
            victims could have bought another lottery ticket or another Potter first edition and
            restored their economic position as of the time of the unlawful act. If victims know
            they will collect ex post damages, then they have no incentive to mitigate.
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                                  5.4 Application of the Ex Post Approach in Litigation   5 •  9

            (iv) Prejudgment InterestEven though ex post analyses do not discount past lost cash
            flows, the cash flows should accrue prejudgment interest from the date the plain-
            tiff lost them to the date of recovery (or a proxy for such a date). As with ex ante
            analyses, courts have used various interest rates for prejudgment interest. State
            law or federal statutes often specify a statutory rate. If no statutory rate exists, one
            can use the defendant’s unsecured borrowing rate because the plaintiff is effec-
            tively lending the damages amount to the defendant.


            (b) The Debate

            (i) Advantages The ex post approach appeals to an individual’s sense of justice.
            If someone steals your lottery ticket that becomes worth $32 million, even an
            unskilled lawyer can persuade jurors to award you $32 million in damages, not $1.
            While proponents of the ex ante approach argue that an ex ante analysis makes the
            victim whole as of the date of the unlawful act, proponents of the ex post approach
            argue that the ex post approach makes the victim whole at any time.
                The ex post approach also provides a social deterrent to violating the legal rights
            of others. Only cases with significant damages will go to trial. For example, no one
            will bring a case to trial for a stolen lottery ticket that became worthless. Ex ante
            damages, therefore, will fail to deter when the plaintiff has little incentive to bring
            the wrongdoer to justice either because the outcome was small (or negative) or
            because even when the outcome was large, its expected value was small and the
            defendant would need to pay only the expected value. In the real world of poten-
            tial judicial error and high transaction costs to litigating, this implication suggests
            that ex ante damages analysis without compensation for both the chance of court
            error and transaction costs does not properly deter.
                Additionally, the ex post approach ensures that those who commit unlawful
            acts do not receive windfalls from doing so. Even though the thief of a losing
            lottery ticket is not brought to justice, the theft does not benefit him or her. This
            observation poses a powerful argument for using ex post information to calculate
            unjust enrichment.
            (ii) Disadvantages The ex post approach to measuring damages has disadvantages,
            one being that the damages amount changes over time as new data become avail-
            able. Because the changing environment influences ex post damages, this approach
            provides incentive for gaming the courts to maximize or minimize damages.
            For instance, a party can intentionally delay proceedings until the stock market
            improves, or, as in our example, until Potter first editions have increased in value.
            Second, as Section 5.4(a)(iii) of this chapter discusses, the ex post approach unques-
            tionably gives plaintiffs the benefit of the proceeds from a risk that they did not
            bear—it gives plaintiffs the incentive to seek harm, to seek to be deprived of the
            right to drill for a likely dry hole. Also, this approach risks overcompensation of
            the plaintiff. In particular, if the plaintiff can choose between an ex post and an ex
            ante remedy, the plaintiff is overcompensated when the ex post damages exceed ex
            ante damages. A defendant will argue whichever approach gives the lower dam-
            ages figure as the correct approach to use.
               Frank Fisher puts forth an alternative argument that the ex post method can
            overly deter wrongdoers because the infringer runs the risk of the downside loss.
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            5 •  10  Ex Ante versus Ex Post Damages Calculations

            For example, assume that an infringer has a 50 percent chance of a $200 gain and a
            50 percent chance of a $100 loss; the expected gain then equals $50 [= (50% × $200)
            + (50% × –$100)]. The plaintiff will not choose to sue if the infringer incurs a loss
            but will sue if the infringer makes a gain. The plaintiff’s expected recovery equals
            $100 [= (50% × $200) + (50% × $0)], and the defendant’s expected net loss after
            disgorgement is –$50 {= [50% × ($200 – $200)] + [50% × (–$100 – $0)]}.7
               Thus, the plaintiffs could be compensated for risks they did not bear while the
            infringers could be overpenalized by both bearing the downside risk and poten-
            tially being forced to disgorge the entire upside.


            5.5 Hybrid Approach

            Experts frequently blend different aspects of both ex ante and ex post analyses in
            a hybrid approach. A common hybrid between a pure ex ante and a pure ex post
            analysis uses ex post information but an ex ante measurement date. Experts dis-
            count the lost cash flows back to the date of the unlawful act, using a risk-adjusted
            discount rate based on the actual volatility of the returns in the ex post period.
               The hybrid approach reasons that if all parties know what the lost cash flows
            would have been, no rationale exists for ignoring this information. What actually
            happened was, after all, one of the plausible outcomes at the time of the breach.
            This hybrid approach also appeals to some individuals’ sense of justice because it
            uses the real world as a basis for the calculation of damages as opposed to a hypo-
            thetical expectation of what was known and knowable at the time of the unlawful
            act. It eliminates some speculation as to what the cash flows would have been.
               Advocates argue that we must discount the actual cash flows to reflect the
            business risk of earning those cash flows. If the analyses do not discount actual
            cash flows at a risk-adjusted rate—as occurs in a pure ex ante approach—plaintiffs
            enjoy a superior economic position relative to where they would have been but for
            the unlawful act because the analyses ignore business risk.
               Consider the situation in which a person has a choice between earning cash
            flows associated with some uncertainty and holding a free call option on his or her
            future cash flows. This individual would invariably choose the call option in order
            to avoid downside risk. Likewise, pursuing a pure ex post result in court is like
            giving the plaintiff a free call on his or her future lost cash flows because to obtain
            those cash flows, but for the unlawful act, the plaintiff would have had to suffer
            through some level of uncertainty, whereas he or she avoided such uncertainty
            when the act occurred.8
               Discounting the ex post cash flows back to the date of the unlawful act at the
            appropriate risk-adjusted discount rate moves the pure ex post result closer to a
            position that is at risk parity with what would have happened but for the unlaw-
            ful act. The appropriate discount rate for the hybrid approach should incorporate
            information from proxy companies in the market. The risk premium would be
            the market risk premium multiplied by the beta of the proxy companies for a
            period that parallels the damages period as closely as feasible. This hybrid anal-
            ysis should calculate prejudgment interest as in the ex ante analyses—from the
            date of the unlawful act to the date of restitution. Therefore, an expert would first
            discount future lost cash flows to the date of the unlawful act, and then apply
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                                                                   5.6 The Book of Wisdom   5 •  11

            prejudgment interest to both future and past lost cash flows from the date of the
            illegal act. When the statute does not specify a prejudgment interest rate, a reason-
            able rate would be the defendant’s borrowing rate.

            5.6 The Book of Wisdom

            Some hybrid analyses use the concept of the book of wisdom. This concept allows
            damages experts to apply to their calculation facts established after the date of
            damage. The Supreme Court first set forth the concept of the book of wisdom in
            1933 in the landmark case Sinclair Ref. Co. v. Jenkins Petroleum Co.9 In its decision,
            the Court stated that
              at times the only evidence available may be that supplied by testimony of experts as
              to the state of the art, the character of the improvement, and the probable increase of
              efficiency or savings of expense. . . . This will generally be the case if the trial follows
              quickly after the issue of the patent. But a different situation is presented if years
              have gone by before the evidence is offered. Experience is then available to correct
              uncertain prophecy. Here is a book of wisdom that courts may not neglect. We find
              no rule of law that sets a clasp upon its pages, and forbids us to look within.

                Further, the Court opined that facts established after the date of damage do not
            necessarily change past facts; rather, they “bring out and expose to light the ele-
            ments of value that were there from the beginning.”
                Use of the book of wisdom often persuades courts because one could perceive
            it as a call for less speculation. In Transit RR. Comm’rs.,10 the courts ruled that “cer-
            tainty is better than conjecture, and injuries actually inflicted a better guide than
            opinion of experts as to the market values just before and after.” Likewise, in Fish-
            man et al. v. Estate of Arthur M. Wirtz et al.,11 the Seventh Circuit allowed a damages
            calculation that applied the book of wisdom, stating that “we know of no case that
            suggests that a value based on expectation of gain is more relevant and reliable
            than one derived from actual gain.”
                In cases involving a measurement of value, the courts have used the book of
            wisdom to allow an analysis or to grant an award based on a lost outcome (i.e., ex
            post) approach, as opposed to a lost expectancy (i.e., ex ante) approach. For exam-
            ple, the Seventh Circuit sided with a book of wisdom approach in Fishman. The
            Fifth Circuit also supported a valuation analysis based on the book of wisdom in
            Park v. El Paso Board of Realtors,12 even where it opined that, though a hypothetical
            sale at the date of the unlawful act can present a useful analogy for purposes of
            valuation, a lost going-concern value offers a more appropriate measure of loss
            when the plaintiff has been driven out of business. The court based its support of
            a lost going-concern calculation because nothing in principle prevents a plaintiff
            with a destroyed business from recovering future profits.
                In addition to cases of valuation, courts often apply the book of wisdom in pat-
            ent infringement cases when deciding the details of the hypothetical negotiation
            that would have occurred between two parties. In Fromson v. Western Litho Plate
            & Supply Co.,13 the Federal Circuit, citing Sinclair, indicated that one could look at
            post-infringement events in calculating reasonable royalty damages. In this case,
            the plaintiff wanted to use the infringer’s actual profits as evidence of the value
            of the patent. The court found that excluding the evidence was erroneous and
            explained that
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            5 •  12  Ex Ante versus Ex Post Damages Calculations

              the methodology [of simulating a hypothetical negotiation] encompasses fantasy and
              flexibility; fantasy because it requires a court to imagine what warring parties would
              have agreed to as willing negotiators; flexibility because it speaks of negotiations
              as of the time infringement began, yet permits and often requires a court to look to
              events and facts that occurred thereafter and that could not have been known to or
              predicted by the hypothesized negotiators.

               Likewise, in Jamesbury Corporation v. United States,14 the opining judge found
            that because he was “aided by the benefit of hindsight, it [seemed] unnecessary to
            create such a fictional [analysis]” as a hypothetical negotiation would have used.
               On occasion, however, courts have limited the applicability of the book of
            wisdom. In TWM Manufacturing Co., Inc. v. Dura Corp.,15 the defendant argued
            that the plaintiff erred in its damages calculation because it based damages on a
            gross profit value that the defendant’s management had projected in an internal
            memorandum prior to the defendant’s infringement of the patent. The defendant
            believed that the plaintiff should have considered actual gross profit values, not
            projected values. The Federal Circuit rejected the defendant’s argument and con-
            sidered its pre-infringement memorandum as probative on the reasonable royalty
            issue. Thus, the court focused on the time the infringement began—specifically, it
            ruled that the book of wisdom did not apply in this case. Evidence of what hap-
            pened after that time did not mitigate damages. Additionally, in Odetics, Inc. v.
            Storage Technology Corp. (CAFC),16 the U.S. Court of Appeals for the Federal Circuit
            found that the federal district court had not abused its discretion by disallowing
            a book of wisdom approach and thus excluding evidence of two licenses granted
            by a patent infringement plaintiff from consideration in calculating a reasonable
            royalty rate for award of damages. The Federal Circuit reasoned that, because
            the hypothetical negotiation required in reasonable royalty analysis obliges courts
            to envision the terms of a licensing agreement reached between patentee and
            infringer when the infringement began, the court could not in this case consider
            the license agreements in question, which were negotiated four and five years
            after the date of infringement.
               Robert Goldscheider reconciles the contrary positions of the courts by stating
            that “one may employ the book of wisdom only by looking prospectively from the
            date of the hypothetical negotiation, not retrospectively.” He illustrates this con-
            cept with the example of an invention that had no noninfringing alternative at the
            date of the hypothetical negotiation but had one—a design-around—five years
            later. In this case, the expert cannot use the book of wisdom to say that this alter-
            native technology was potentially available at the time of the hypothetical nego-
            tiation just because it was achieved five years later. However, this example shows
            that it took five years to design around the infringed patent. The expert should
            use this information in calculating damages. Goldscheider adds that “reference
            should be made by expert witnesses to the book of wisdom whether or not such
            actual subsequent events were non-foreseeable aberrations. Anything that can
            contribute to the realism of the exercise should be given serious consideration.”17
               In sum, case law indicates that experts can, and indeed should, incorporate all
            information, even information relating to events that occurred after the date of
            damage or after the date of hypothetical negotiation in the damages analysis. If
            the goal is to ascertain the amount of damages that would return the plaintiff to
            the same position it would have been in but for the unlawful act, the expert should
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                                                             5.7 The Wrongdoer’s Rule   5 •  13

            use all available information in reconstructing the but-for world so that the result-
            ing award reflects all the events that have contributed to or limited the damages
            suffered by the plaintiff.


            5.7 The Wrongdoer’s Rule

            Because precedent has accepted both ex ante and ex post analyses, how do the
            courts decide which approach to use? Both experts and courts often overlook the
            concept of the wrongdoer’s rule.
               When the court has found liability, the wrongdoer’s rule gives the benefit of the
            doubt to plaintiffs, leaving defendants with the burden of dispelling any uncer-
            tainty. In Story Parchment Co. v. Paterson Parchment Paper Co. et al.,18 the Supreme
            Court ruled that “whatever . . . uncertainty there may be in [a] mode of estimat-
            ing damages, it is an uncertainty caused by the defendant’s own wrong act; and
            justice and sound public policy alike require that he should bear the risk of the
            uncertainty thus produced.” The courts can apply this ruling to find in favor of a
            plaintiff’s damages calculation.
               Although its application is certainly not limited to ex ante and ex post cases,
            the wrongdoer’s rule can provide a guideline for courts dealing with these two
            alternative analyses when deciding which damages calculation to award. Unless
            proved otherwise by the wrongdoer, courts will not withhold a reasonable dam-
            ages estimate from the plaintiff. In Fishman et al. v. Estate of Arthur M. Wirtz et al.,19
            the Seventh Circuit granted a damages award based on an ex post analysis, opin-
            ing that the defendants’ objections of speculation were not sufficient, as the
            “defendants . . . should not benefit because their wrongdoing made it difficult to
            establish the exact amount of injury.” Additionally, the court held that an ex post
            analysis was a reasonable estimate of damages, as “we know of no case that sug-
            gests that a value based on expectation of gain is more relevant and reliable than
            one derived from actual gain.” It also cited Sinclair in saying that “to correct uncer-
            tain prophecies . . . is not to charge the offender with elements of value nonexistent
            at the time of his offense. It is to bring out and expose to the light the elements of
            value that were there from the beginning.” As applied by the Court of Appeals
            of Maryland in M & R Contractors & Builders, Inc. v. Michael et al.,20 the court can
            use the wrongdoer’s rule in awarding an ex ante damages calculation. In this case,
            the court found nothing wrong in a damages calculation based on a profit expec-
            tation that was measured as of the signing of the subsequently broken contract.
            The court advised the district court, “Where a defendant’s wrong has caused the
            difficulty of proving damage, he cannot complain of the resulting uncertainty.”
            Citing from Corbin on Contracts (1951), the court further expressed “doubts [as to
            the amount of lost profits] will generally be resolved in favor of the party who has
            certainly been injured and against the party committing the breach.”
               Courts have not frequently applied the wrongdoer’s rule to cases in which
            ex ante and ex post have been points of contention, but courts have tested and
            upheld its applicability on many occasions. In each of these occasions, the defen-
            dants complained that the plaintiffs’ measures of damages were speculative, yet
            the courts allowed these calculations because, as stated in Story Parchment, the
            uncertainty involved was “caused by the defendant’s own wrong act.” Following
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            5 •  14  Ex Ante versus Ex Post Damages Calculations

            Story Parchment, the Supreme Court again applied the wrongdoer’s rule in grant-
            ing damages based on historical performance to the plaintiff in Bigelow et al. v.
            RKO Radio Pictures, Inc., et al.21 The wrongdoer’s rule as established by Story Parch-
            ment allowed for the granting of damages “which are definitely attributable to the
            wrong and only uncertain in respect of their amount.” However, in Bigelow, the
            Supreme Court went one step further than it had in Story Parchment, concluding
            that even though a jury cannot “render a verdict based on speculation or guess-
            work . . . the wrongdoer may not object to the plaintiff’s reasonable estimate of
            the cause of injury and of its amount, supported by the evidence, because [it is]
            not based on more accurate data which the wrongdoer’s misconduct has rendered
            unavailable.” Few courts, however, have applied the wrongdoer’s rule as recog-
            nized in Bigelow to establish a causal relation between the harmful act and eco-
            nomic damages.
                The Second Circuit has also used the wrongdoer’s rule to award the plain-
            tiff damages when damage has resulted from the defendant’s harmful act. See
            Contemporary Mission, Inc. v. Famous Music Corp.22 and Indu Craft, Inc. v. Bank of
            Baroda.23 As the Second Circuit stated in its Contemporary Mission decision, “Under
            the longstanding New York rule, when the existence of damage is certain, and
            the only uncertainty is as to its amount, the plaintiff will not be denied a recovery
            of substantial damages.” State courts have also supported the wrongdoer’s rule.
            The Supreme Court of Michigan has ruled that the risk of uncertainty should be
            thrown upon the wrongdoer instead of upon the injured party (Allison v. Chan-
            dler).24 Similarly, in Tull v. Gundersons, Inc.,25 the Supreme Court of Colorado
            granted damages to the plaintiff, stating that “although the amounts were not
            mathematically certain, had we disallowed recovery . . . for injuries that had been
            proven in fact, we would have rewarded the injurious party.”
                In cases of ex ante and ex post, the courts can use the wrongdoer’s rule in siding
            with the plaintiff’s measure of damages. Because both approaches yield arguably
            reasonable results, defendants carry the burden of showing why the plaintiff’s
            analysis is not appropriate for a specific case. This approach is especially relevant
            when the defendant’s own acts have precluded an accurate understanding of the
            but-for world (e.g., in cases of antitrust and breach of contract).


            5.8   Conclusion

            The time lag between the date of the unlawful act and the date of restitution will
            always cause debate as to the merits of using ex ante and ex post analyses in cal-
            culating damages. No single approach will be appropriate for all situations; the
            decision to apply any particular approach will depend on case specifics. For any
            method described in this chapter, one can concoct a situation in which the result of
            applying that method would not satisfy a common perception of fairness.
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                    Appendix:
                    Case Law Supporting
                    Ex Ante and Ex Post
                    Analyses




            Case Law Supporting Ex Ante Analyses

            This section discusses cases that reflect court decisions supporting ex ante analy-
            ses. We list these cases in chronological order. Note that the following cases reflect
            that breach of contract damage measures usually employ ex ante approaches.

            M&R Contractors & Builders v. Michael, 215 Md. 340, 351; 138 A.2d 350, 356
            (1958). Defendants hired a contractor (plaintiff) to build a home for them. Sev-
            eral months later the defendants informed the plaintiff that they did not want to
            have a home built at that time and asked the plaintiff to release them from the
            contract. Plaintiff filed suit against the defendants for the contract price of $23,420,
            of which $20,020 represented costs and $3,400 the expected profit. The plaintiff
            admitted that the only work done prior to the breach consisted of contract prepa-
            ration, studying plans, and obtaining estimates from subcontractors. The plaintiff
            did not begin digging, paying for building materials, or signing contracts with
            subcontractors. At trial, the plaintiff abandoned his claim for the cost of the home
            and asked only for his anticipated profit, which he calculated by subtracting the
            estimates of the subcontractors from the contract price. The trial court found the
            plaintiff’s proof of lost profits speculative and granted the defendants a motion
            for dismissal. The plaintiff appealed that decision and the appellate court reversed
            and remanded for a new trial. The appellate court held that one should measure
            unrealized profits as the difference between the contract price and the actual or
            estimated costs of full performance and that in this case the plaintiff appeared to
            make a reasonable estimate of his lost profits. The defendants also raised the issue
            of whether the plaintiff had minimized his damages. The appellate court held
            that the court should not deduct from the damages measure the gains made by

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            5 •  16  Ex Ante versus Ex Post Damages Calculations

            the plaintiff on another transaction unless the plaintiff could not have worked on
            another job without the defendants’ having breached the original contract. Hence,
            while the lost profits damages measure relied on an ex ante analysis, whether the
            court should reduce the plaintiff’s lost profits by the amount of profit made on a
            substituted contract depended on an ex post analysis.

            Sharma v. Skaarup Ship Management Corporation, 916 F.2d 820, 825–26 (1990).
            The plaintiffs alleged that the defendants (Chemical Bank and other individuals)
            breached a refinancing agreement, causing the plaintiffs to lose ownership of four
            tankers that became the property of the defendants. The plaintiffs sought as dam-
            ages not only the market value of the vessels ($15 million) but also lost profits
            from future years ($80 million). The plaintiffs argued that Chemical Bank believed
            the shipping industry would experience sharply increased demand shortly and
            wished to acquire these tankers prior to the economic boom and that, but for
            Chemical Bank’s wrongful actions, the plaintiffs would have received substantial
            profits when demand for the tankers increased. The trial court disagreed with this
            reasoning, stating that the plaintiffs could recover only the market value of the
            tankers and that lost prospective profits was not a proper damages measure. The
            plaintiffs appealed that decision. The appellate court also disagreed with the plain-
            tiffs. The appellate court stated that “it is a fundamental proposition of contract
            law, including that of New York, that the losses caused by a breach are determined
            as of the time of the breach.” The appellate court cited the following examples:
              •• In measuring damages, courts cannot take into account changes in currency
                exchange rates subsequent to a breach.
              •• Damages for the breach of an agreement to purchase securities equal the dif-
                 ference between the contract price and the market value of the asset at the
                 time of the breach.
              •• Damages for a breach of contract to buy real estate equal the difference
                 between the contract price and the market value at the time of the breach.

              The appellate court concluded this discussion by noting that measuring dam-
            ages by using the value of the items at the time of breach takes expected lost future
            profits into account. “The value of assets for which there is a market is the dis-
            counted value of the stream of future income that the assets are expected to pro-
            duce. This stream of income, of course, includes expected future profits and/or
            capital appreciation.”

            Indu Craft, Inc. v. Bank of Baroda, 47 F.3d 490 (1995). The jury found that the
            Bank of Baroda (the defendant) had curtailed the credit of Indu Craft (the plain-
            tiff) and had caused Indu Craft difficulties in obtaining letters of credit because
            Indu Craft’s president failed to invest in the computer business of the son of one of
            the bank’s officers. The jury further found that these actions caused Indu Craft to
            go out of business in November 1987. The plaintiff presented two claims: (1) lost
            profits and (2) the loss of the value of the business. The appellate court rejected
            the calculation of lost profits because the plaintiff did not include fixed costs in
            its analysis. The appellate court, however, accepted the plaintiff’s calculation of
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                     Appendix: Case Law Supporting Ex Ante and Ex Post Analyses            5 •  17

            the lost business value. The plaintiff calculated the lost business value by esti-
            mating the earnings as of November 1987 (adjusted for a nonrecurring event—
            the embargo of a country from which Indu Craft imported goods) and applying
            to that number an earnings multiplier based on the earnings of publicly traded
            comparable companies. The appellate court cited the Sharma case, which stated
            that “where the breach involves the deprivation of an item with a determinable
            market value, the market value at the time of the breach is the measure of damages”
            (emphasis added).

            Brushton-Moira Central School District v. Fred H. Thomas Associates, 91 N.Y.2d
            256, 261–62; 692 N.E.2d 551, 553–54; 669 N.Y.S.2d 520, 522–23 (1998). The plain-
            tiff school district employed the defendant to renovate its high school building.
            Three months after the defendant completed the renovations, insulated panels
            that replaced glass windows began to deteriorate, permitting water to penetrate
            the building. The plaintiff sued for breach of contract. On appeal, the Appellate
            Division of the Supreme Court of New York held, among other issues, that the
            plaintiff should receive the replacement cost of the defective panels measured as
            of the trial date, and sent the case back to the trial court. In turn, the plaintiff and
            defendant appealed that decision. The Court of Appeals of New York rejected the
            prior measurement date (i.e., the trial date) for damages. “Damages are intended
            to return the parties to the point at which the breach arose and to place the non-
            breaching party in as good a position as it would have been had the contract been
            performed. . . . A cause of action for defective design or construction accrues upon
            the actual completion of the work.” The Court of Appeals also held that the trial
            court should award prejudgment interest from that same date.

            Kelly v. Marx, 428 Mass. 877, 878; 705 N.E.2d 1114, 1115 (1999). The plaintiffs
            paid the defendants a $17,500 deposit for the $355,000 purchase of the defendants’
            property. Five months later, the plaintiffs informed the defendants that they could
            not purchase the property and asked the defendants to put it back on the market.
            Several weeks after that, the defendants sold the property for $360,000, but refused
            to return the plaintiffs’ deposit. The plaintiffs sued to recover their deposit. The
            trial court held that the liquidated damages clause in the contract was enforceable
            and allowed the defendants to retain the deposit. The Appeals Court of Massachu-
            setts ruled that the defendants should not keep the deposit in that they suffered no
            damage, and as a result liquidated damages served as a penalty, not as compensa-
            tion for a loss. The Supreme Court of Massachusetts sided with the trial court. It
            rejected examining the amount the defendants finally received (i.e., the retrospec-
            tive or “second look” approach) and instead focused on the circumstances at the
            time of contract formation or the time of the plaintiffs’ breach (i.e., the “first look”
            approach). The Supreme Court noted that “a liquidated damages clause in a pur-
            chase and sale agreement will be enforced where, at the time the agreement was
            made, potential damages were difficult to determine and the clause was a reason-
            able forecast of damages expected to occur in the event of a breach.” The court
            found that, under the circumstances, the deposit was a reasonable forecast of the
            defendants’ losses should the plaintiffs breach the contract.
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            5 •  18  Ex Ante versus Ex Post Damages Calculations

            Case Law Supporting Ex Post Analyses

            This section cites cases containing ex post analyses by courts. For example, deci-
            sions related to antitrust, patent infringement, damage to property by govern-
            ment, and legal malpractice cases have used ex post analyses. We list these cases
            by subject matter in chronological order.


            (a) Antitrust

            A.C. Becken Co. v. Gemex Corporation, 314 F.2d 839, 840 (1963).
            Civil Antitrust. The plaintiff claimed injury because the defendant refused to sell
            the plaintiff watch bands after 1956. At the original trial, the district court had
            found as fact and concluded as law that the plaintiff was not damaged. The Sev-
            enth Circuit Court of Appeals reversed and remanded in 1959, stating that, in fix-
            ing the proper amount of damages, the district court should consider the evidence
            already in the record on the subject of the plaintiff’s damages, any proper evi-
            dence offered by the defendant, and rebuttal evidence of plaintiff. On remand, the
            district court considered additional evidence that occurred while the case was on
            appeal. According to the Seventh Circuit, these actions by the district court placed
            it in a position “where it had the benefit, not only of such projections as might
            have been reasonable based on the facts appearing at the first trial . . . but it also
            had the superior advantage of evidence of conditions which had in fact occurred
            while the case had been on appeal.” The Seventh Circuit noted that while the
            evidence at the first trial was a reliable basis for damages, “no one can deny that
            to the extent future events modified its correctness, the entire evidence must be
            considered together.”


            Park v. El Paso Board of Realtors, 764 F.2D 1053, 1068 (1985).
            Sherman Act. The plaintiff filed suit in 1978, claiming that the defendants had con-
            spired to boycott his real estate firm in retaliation for the plaintiff’s attempts to
            reduce real estate commissions. In 1982, the jury found that six of the ten remain-
            ing defendants had conspired to boycott the plaintiff’s firm and entered a $927,559
            judgment against them for past and future profits for the period from 1978 to 1991.
            To calculate damages, the plaintiff relied solely on the testimony of its expert, Dr.
            George. Among other factors, Dr. George estimated that by 1983 the plaintiff’s firm
            would have captured 20 percent of the El Paso real estate market but presented
            no basis to support that assumption. The Fifth Circuit Court of Appeals reversed
            and remanded for a new trial on several issues. Because the court believed that
            the issue of adequate support for the damages amount might arise on remand,
            it noted that several aspects of Dr. George’s model lacked a rational basis. For
            example, had the plaintiff’s firm captured 20 percent of the El Paso real estate
            market, it would have equaled the size of the four largest real estate firms in El
            Paso combined. “On remand, the plaintiff must present a revised damages model,
            with a rational basis for each of the model’s principal assumptions.” The Fifth
            Circuit further stated that “since the exact number of residential resales can now
            be determined for much of the damages period, the plaintiff should incorporate
            these figures into his model rather than rely on projections as he did previously.
            The plaintiff should also use actual figures rather than projections for the home
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                      Appendix: Case Law Supporting Ex Ante and Ex Post Analyses            5 •  19

            resale inflation rate, when calculating the commission he would have received for
            his lost sales.”

            Fishman v. Estate of Wirtz and Illinois Basketball, Inc. v. Estate of Wirtz,
            807 F.2d 520, 552 (1986).
            Sherman Act and Illinois Law. In 1972, Illinois Basketball Inc. (IBI) and Marvin Fish-
            man sought to purchase the Chicago Bulls. Instead the Chicago Professional Sports
            Corporation (CPSC) purchased the Bulls. IBI and Fishman filed a lawsuit claim-
            ing that CPSC had acquired the Bulls through violations of the Sherman Act and
            Illinois common law. The district court found that the defendants had engaged in
            anticompetitive acts in destroying the contract the plaintiffs had executed with the
            former owners of the Bulls. The Seventh Circuit Court of Appeals agreed that the
            defendant had violated Sections 1 and 2 of the Sherman Act, but disagreed with
            the district court’s judgment that the defendant’s actions amounted to a boycott
            or tortious interference with the contract. The Seventh Circuit also found that the
            district court erred in its computation of damages and remanded the case back
            to the district court for a new trial on this issue. The district court calculated IBI’s
            damages using the yardstick of CPSC’s actual financial experience from 1972 until
            1982 (the time of the original trial). While the Seventh Circuit agreed with the
            general use of this yardstick, it found that the district court’s damages method
            required revision. The Seventh Circuit, nevertheless, specifically disagreed with
            the defendant’s assertion on appeal that damages must be computed as of the
            date of the injury (i.e., July 1972). “We know of no requirement that damages must
            always be computed as of the time of the injury or, if not, reduced by some appro-
            priate discount rate to produce a value as of that date. . . . If a victim is deprived of
            what may turn out to be an unusually successful investment, his damages should
            reflect that fact.” Further, the majority opinion disagreed with the dissent, which
            adopted 1972 as the time at which the court should measure damages. The dissent
            argued that while IBI lost one business opportunity, it could go out and invest in
            the next best business opportunity in 1972, and that the district court should have
            awarded the plaintiffs only the bargain element of its contract (i.e., the amount at
            which the plaintiffs would have been able to buy the Bulls below their “market
            price”). The dissent concluded that the plaintiffs lost no bargain element and no
            unique opportunity (in 1972), and they had no damages. The majority opinion
            noted that “we find the dissent’s analysis unpersuasive insofar as it may suggest
            that IBI should have invested promptly in another basketball team. The dissent
            appears to treat basketball teams as fungible commodities. But the record does
            not disclose that there is anything like an auction market in basketball teams. As
            far as we know, the law imposes no duty on a buyer who has been unlawfully
            done out of a purchase of the Bulls to cover immediately with the Bucks, Celtics,
            or the Lakers. The record does not disclose that these teams were either fungible
            or available.”

            (b) Patent Infringement

            Trans-World Manufacturing Corp. v. Al Nyman & Sons, Inc., 750 F.2d 1552,
            1568 (1984).
            Design Patent Infringement. In 1978, the defendant (Nyman) asked the plain-
            tiff (Trans-World) to design display racks for the eyeglasses that the defendant
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            sold. The plaintiff delivered to the defendant models of the display racks. Later,
            the plaintiff obtained design patents for these racks. Meanwhile, the defendant
            arranged for another firm to manufacture display racks based on the plaintiff’s
            designs. The plaintiff claimed that the defendant’s design patents were invalid.
            The plaintiff filed for two design patents for the racks in 1979 and the Patent Office
            issued the patents in 1980 and 1981. The plaintiff filed this suit in 1981. The trial
            judge refused to admit evidence of the defendant’s profits on the sale of eyeglasses
            sold from the infringing display racks. Ultimately, that decision was irrelevant
            because the jury concluded that both patents were invalid. The appellate court,
            however, reversed the jury’s decision on the patents’ validity. Hence, the appel-
            late court decided to issue an advisory opinion on the admissibility of the defen-
            dant’s profits because the plaintiff would likely seek to introduce that evidence at
            the new trial. The appellate court noted that among the Georgia-Pacific factors, the
            jury should consider the infringer’s “anticipated” profit from use of the patented
            invention and that “evidence of the infringer’s actual profits generally is admis-
            sible as probative of his anticipated profits.” Hence, the trial judge should admit
            this previously excluded evidence at the new trial, if offered.

            Fromson v. Western Litho Plate and Supply Co., 853 F.2d 1568, 1575 (1988).
            Patent Infringement. The plaintiff accused the defendant of violating its patent. Both
            parties appealed from the district court’s decision. In discussing the proper dam-
            ages measure, the appellate court stated that without evidence of an established
            royalty rate, the district court must create one based on “hypothetical negotia-
            tions between a willing licensor and a willing licensee.” The court went on to state
            that this hypothetical negotiation “encompasses fantasy and flexibility; fantasy
            because it requires a court to imagine what warring parties would have agreed to
            as willing negotiators; flexibility because it speaks of negotiations as of the time
            infringement began, yet permits and often requires a court to look to events and
            facts that occurred thereafter and that could not have been known to or predicted
            by the hypothesized negotiators.”


            (c) Damage to Property by Government

            The Board of Rapid Transit Railroad Commissioners of the City of New York, 197
            N.Y. 81, 90 N.E. 456 (1909). The building of a subway caused damages to homes
            in Brooklyn, making them unfit for habitation for approximately 18 months. The
            court found that a railroad constructed beneath the street was a new burden, not
            contemplated by the original owner of the land when he agreed to devote the land
            to use as a street. As a result, the claimants were entitled to the full value of their
            property that was taken without deduction for benefits and also to just compen-
            sation for the injury done to the remainder. The commissioners must adapt the
            measure of damages to the actual injury. “It is the duty of the commissioners of
            appraisal to receive evidence relating to the condition of the properties down to
            the time of trial.”

            Michigan State Highway Commission v. Davis, 38 Mich. App. 674; 197 N.W.2d
            71 (1972). For the purposes of highway construction, in 1968 the Highway Com-
            mission proposed to take portions of a parcel that would have severely limited
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                      Appendix: Case Law Supporting Ex Ante and Ex Post Analyses                5 •  21

            the owners’ use of the remaining property. Two preliminary appraisals valued
            the damages at $62,200 and $78,000. The Highway Commission, however, did not
            complete the contracting process until May 1969. Moreover, in June 1969 the Com-
            mission made changes to the plans, giving the owners access to their remaining
            property. A third appraisal made at this time valued the damages at $25,650. In
            the condemnation hearing, the trial court ruled that it would calculate damages
            as of the time of possession in 1968. The appellate court overruled the trial court’s
            exclusion of the third appraisal, stating that “since we are dealing here not with
            the value of the property taken, but rather with the damage done to the residue
            as a result of the taking, we find no bar to the introduction of evidence bearing on
            those damages despite the fact that the evidence concerns facts occurring after the
            date of the taking.”

            (d) Legal Malpractice

            Kilpatrick v. Wiley, Rein & Fielding, 37 P.3d 1130, 1145 (2001). The plaintiffs,
            who had formed MWT, Ltd., alleged that the defendants represented them from
            1981 to 1991 in connection with their efforts to acquire a television station and that
            the defendants breached their fiduciary duties. The plaintiffs’ expert presented
            two valuations of the television station, one as of 1987 and the other as of 1997,
            but for the alleged breaches of fiduciary duty. The defendants appealed the trial
            court’s decision to allow the jury to measure the plaintiffs’ damages “either from
            the date of defendants’ alleged breaches of fiduciary duty or from the date almost
            a decade later when the case was ready for trial” (emphasis added). The appel-
            late court disagreed and stated that, while measuring damages at the time of the
            breach is appropriate in some cases, “the general objective of tort law [is] to place
            an injured person in a position as nearly as possible to the position he would have
            occupied but for the defendant’s tort” and that “the trial court is in the best posi-
            tion to determine what award of damages will make a plaintiff whole.” As a result,
            the appellate court ruled that the trial court could use its discretion in deciding the
            date from which the jury would measure damages. The appellate court concluded
            that allowing the jury to hear evidence related to both dates “allowed the jury
            to come to a reasonable approximation of the damages the MWT, Ltd., limited
            partners actually incurred as a result of defendants’ alleged breaches of fiduciary
            duty. Accordingly, the trial court’s decision was within its permitted discretion.”

            Notes

              1. Here we ignore the state’s vigorish in selling tickets. Because of the state’s take from
                 the proceeds before disbursing to the winners, the expected value of all legal lotteries
                 of which we are aware is negative.
              2. The statement of this approach appears in J. M. Patell, R. L. Weil, and M. A. Wolfson,
                 “Accumulating Damages in Litigation: The Role of Uncertainty and Interest Rates,”
                 Journal of Legal Studies 11 (June 1982): 341–64.
              3. In the case of continuing breach, such as patent infringement, the limiting case occurs
                 when each period approaches zero length. (Recall the limit theorems and analysis of
                 first-year calculus.) In that case, under suitable assumptions of continuity of damages
                 paths, the ex ante analysis and the ex post analysis will give the same result. The peri-
                 ods are so short that the before-the-fact analysis of each period becomes identical with
                 the after-the-fact analysis of the preceding period.
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              4. Obviously, this approach merits a measure of common sense. At some point, this exer-
                 cise becomes so complex that it becomes unfeasible.
              5. The first showing of this result appears to be in Patell et al. (see n. 2). See also Chapter
                 16 in this book.
              6. Franklin M. Fisher and Craig R. Romaine, “Janice Joplin’s Yearbook and the Theory of
                 Damages,” Journal of Accounting, Auditing and Finance 5 (Winter 1990): 156–57.
              7. Edward F. Sherry and David J. Teece, Some Economic Aspects of Intellectual Property
                 Damages, Practicing Law Institute; Patents, Copyrights, Trademarks and Literary
                 Property Course Handbook Series, PLI Order No. G0–007N, New York City, October
                 7–8, 1999, Section XI.
              8. As stated earlier in the chapter, we assume that courts do not err. If the courts will
                 assume that there is some chance of error, then they should divide the result by the
                 probability of being found guilty.
              9. Sinclair Ref. Co. v. Jenkins Petroleum Co., 289 U.S. 689, 698–99, 53 S. Ct. 736, 77 L. Ed. 1449
                 (1933).
             10. Transit RR. Comm’rs., 197 N.Y. 81, 108, 90 N.E. 456, 465 (1909).
             11. Fishman et al. v. Estate of Arthur M. Wirtz et al., 807 F.2d 520 (7th Cir. 1986).
             12. Park v. El Paso Board of Realtors, 764 F.2d 1053 (1985).
             13. Fromson v. Western Litho Plate & Supply Co., 853 F.2d 1586, 1575–76 (Fed. Cir. 1988).
             14. Jamesbury Corporation v. United States, 207 USPQ 131 (US ClCt 1980).
             15. TWM Manufacturing Co., Inc. v. Dura Corp., 789 F.2d 895, 899–900 (Fed. Cir. 1986).
             16. Odetics, Inc. v. Storage Technology Corp. (CAFC), 51 USPQ2d 1225 (1999).
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             23. Indu Craft, Inc. v. Bank of Baroda, 47 F.3d 490 (1995).
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            Michigan State Highway Commission v. Davis, 38 Mich. App. 674; 197 N.W.2d 71 (1972)
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